                                Fourth Court of Appeals
                                        San Antonio, Texas
                                              JUDGMENT
                                            No. 04-23-00016-CV

              Ronald RODRIGUEZ and The Law Offices of Ronald Rodriguez, P.C.,
                                     Appellants

                                                       v.

                             Juan J. CRUZ and J. Cruz &amp; Associates, LLC,
                                             Appellees

                     From the 406th Judicial District Court, Webb County, Texas
                                Trial Court No. 2022CVK001183D4
                              Honorable Sid L. Harle, Judge Presiding

            BEFORE CHIEF JUSTICE MARTINEZ, JUSTICE VALENZUELA, AND
                          CHIEF JUSTICE MARION (RET.) 1

       In accordance with this court’s opinion of this date, this appeal is DISMISSED. Costs of
the appeal are taxed against the party who incurred them. See TEX. R. APP. P. 42.1(d).

        Appellants’ agreed motion to expedite the issuance of the mandate is GRANTED. The
clerk of this court is instructed to issue the mandate immediately. See id. R. 18.6 (allowing the
appellate court to expedite the issuance of the mandate in an accelerated appeal).

        SIGNED August 14, 2024.


                                                        _________________________________
                                                        Lori I. Valenzuela, Justice




1
 The Honorable Sandee Bryan Marion, Chief Justice (Retired) of the Fourth Court of Appeals, sitting by assignment
of the Chief Justice of the Texas Supreme Court. See TEX. GOV’T CODE §§ 74.003, 75.002, 75.003.
